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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

BERKELEY VENTURES II, LLC

             Plaintiff,
                                               Civil Action File No.
v.                                             1:19-cv-05523-SDG

SIONIC MOBILE CORPORATION and
RONALD D. HERMAN,

             Defendants.


      DEFENDANT SIONIC MOBILE CORPORATION’S BRIEF IN
     OPPOSITION TO PLAINTIFF BERKELEY VENTURES II, LLC’S
              MOTION TO ADD MR. PATRICK GAHAN
                   AS A PARTY DEFENDANT

       Respectfully, the Court should deny the Motion [Doc. 136 – 136-18] of

Plaintiff Berkeley Ventures II, LLC (“Berkeley”) to amend its Complaint and

add non-party Patrick Gahan (“Gahan”) to this matter as a party defendant,

for four reasons. First, Berkeley’s largely incoherent Motion does not properly

move to amend Berkeley’s Complaint or join Gahan. Second, Berkeley has

cited no new fact, item of evidence or allegation that shows why Gahan could

not have been added well before the expiration of the deadlines set in the

Court’s Scheduling Order—meaning that for purposes of Rule 16(b)(4),

Berkeley has articulated no grounds for the Court to even reach a Rule 15



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amendment analysis. Third, Berkeley makes no attempt to show why

Gahan’s joinder or the amendment of its pleading is proper under Rules 15,

19, 20 “and/or” 21, which means it has provided the Court no basis on which

to grant its Motion. And last, Berkeley’s purported “Amended Verified

Complaint for Damages” is a confused mess of allegations that fails to satisfy

Rules 8 and 9(b) and the particularity requirements of the PLSRA.

               ARGUMENT AND CITATION OF AUTHORITY

        Berkeley has made no effort to present a coherent Motion or to specify

the reasons why the Court should grant it. Respectfully, the Court should

deny Berkeley’s Motion, including for the following reasons:

   I.      Berkeley’s Motion is incoherent and fails to either properly
           cite or apply the legal standards, governing law, and legal
           standards that would justify either Gahan’s joinder to this
           action or the amendment of its Complaint over a year-and-
           an-half after being filed.

        A court may deny and reject consideration of any motion or other filing

that is incoherent and does not adequately articulate and apply the legal and

factual bases that may support a movant’s requested relief. See, Salvani v.

Corizon Health, Inc., 2019 U.S. Dist. LEXIS 198106 at * (S.D.Fla. Jul. 3,

2019) (denying Plaintiff’s motion “because it is incomplete and incoherent”

and “unclear at every turn,” including due to its failure to appropriately cite a

supportive case or to explain how the facts as alleged were relevant to the

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relief sought); see also, Goode v. Wings of Alpharetta, Inc., No. 1:11-cv-1337-

WSD, 2013 U.S. Dist. LEXIS 145693 at *7 (N.D.Ga. Oct. 9, 2013) (denying

plaintiff’s “incoherent motion” because it did not make a genuine effort to

demonstrate the factual and legal bases supporting plaintiff’s requested

relief, did not seriously address the issues, and only vaguely cited purported

evidence in footnotes); Gonzalez v. GMAC Mortg., No: 5:13-cv-72-Oc-22PRL,

2013 U.S. Dist. LEXIS 120152 at * (M.D.Fla. Aug. 5, 2013) (rejecting a

plaintiff’s opposition to a pending motion because the plaintiff failed to

discuss appropriate Eleventh Circuit standards, raised non-responsive

arguments, and failed to cite or relate plausible facts). A court’s obligation to

construe a motion or pleading liberally, when it exists, does not equate to a

duty to rewrite it for the plaintiff. Peterson v. Atlanta Hous. Auth., 998 F.2d

904 (11th Cir. 1993).

      Here, Berkeley has moved to join Gahan as a party defendant and to

amend its Complaint. Berkeley’s Motion, however, fails to present a coherent

argument in support of its requested relief, to cite credible facts or legal bases

for its grant, or to provide necessary analysis or reasoning. In short, while

what Berkeley wants is somewhat clear, why it should be granted at this

stage of litigation remains almost entirely opaque.




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      For example, Berkeley fails to appropriately identify the Rules and

applicable standards under which it seeks to join Gahan and amend its

Complaint. Instead, it sparsely references “Rules 15, 19 and/or 21,” which if

taken at face value means that Berkeley is possibly moving on all three or

just one of these grounds.1 To make matters more confusing, Berkeley

nowhere discusses Rule 21, which governs misjoinder and nonjoinder, but

instead addresses Rule 20(a)(2), which governs permissive joinder.2 Berkeley

has thus delivered the Court and Sionic a bit of a conundrum as to which of

these Rules Berkeley thinks pertinent and in which combination. This is not

an idle consideration, since not only are there up to 24 potential

permutations based just on just the four Rules that Berkeley has cited, but

also because how the Rules are interpreted and applied can change markedly

depending on the circumstances and the arguments presented.

      Additionally, Berkeley provides virtually no analysis or reasoning as to

how or why Rules 15, 19, 20 “and/or” 21 would apply to the circumstances

alleged, except to baldly assert “it is clear that Mr. Gahan should be added,”

based on unsubstantiated “new facts” and “newly found allegations.”3 The



1 Berkeley’s Motion [Doc. 136] at 1, [Doc. 136-1] at 3.
2 Berkeley’s Brief [Doc. 136-1] at 4.
3 Berkeley’s Motion [Doc. 136] at 2; Berkeley’s Brief [Doc. 136-1] at 3, 6.



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question, of course, is what new facts, found in what evidence, discovered

from whom, disclosed when, supporting which newfound allegations, made in

which enumerated paragraphs of which pleading?

      Berkeley’s only answer is a vague and oft repeated reference to an

“Exhibit A.”4 There are, however, four documents that Berkeley has

submitted that are labeled as “Exhibit A,” including the Brief to Berkeley’s

Motion,5 a truncated fragment of Gahan’s October 25, 2017 Introductory

Email which has long been a part of the record of this case,6 an “Amended

Verified Complaint for Damages,”7 and finally some Form D filings.8 The

Brief and Introductory Email are the only “Exhibit A” documents referenced

by name in Berkeley’s Motion and Brief. The other two are not, with a

“proposed amended complaint” merely receiving an oblique reference towards

the end of Berkeley’s Brief. Which one of these “Exhibit A” documents

Berkeley intends, under which circumstances, to establish which allegations,




4 Berkeley’s Motion [Doc. 136] at 1; Berkeley’s Brief [Doc. 136-1] at 2 n.1-4, 5
n.13, 6 n.14-15.
5 Berkeley’s Motion [Doc. 136] at 1 (“Plaintiff’s Motion to Add Mr. Gahan is

attached hereto and incorporated as Exhibit A to this Motion”). Sionic accepts
this reference as being to the Brief.
6 Berkeley’s Brief [Doc. 136-1] at 2 n.1 (“Email correspondence”).
7 “Exhibit A” [Doc. 136-3] (“Amended Verified Complaint for Damages”).
8 “Amended Verified Complaint for Damages” [Doc. 136-4].



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as pertinent to which claims, is thus at critical moments left for the Court

and Sionic to guess.

         Ultimately, Berkeley has sent the Court and Sionic on the equivalent

of a hunting expedition, without the courtesy of a map or even a handful of

meaningful directions. In so doing, Berkeley has robbed Sionic of the ability

to present its best arguments in response to whatever Berkeley may have in

mind to justify its Motion, but at which Berkeley has at most only hinted.

This is not how litigation is supposed to work. Respectfully, the Court should

deny Berkeley’s Motion.

   II.     Regardless the basis for Berkeley’s Motion, the reality is that
           Berkeley has presented no new substantive fact or allegation
           different from what Berkeley plainly knew at the
           commencement of this action that would justify Berkeley’s
           attempt at an end-run around the Court’s Scheduling Order.

         The deadlines set in a case management and scheduling order for

amendment of pleadings may be modified under Rule 16(b)(4) only upon good

cause and with the judge’s consent, which imposes on a movant the obligation

of demonstrating that, despite the movant’s diligence, a given deadline as

originally set could not be met. Plate v. Pinellas Cty., No: 8:18-cv-2534-T-

36CPT, 2020 U.S. Dist. LEXIS 13800 at *12 (Jan. 28, 2020). Accordingly,

while Rule 15(a) and Eleventh Circuit precedent strongly favor a court freely

granting leave to amend when justice so requires, nonetheless, absent a

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movant’s prior satisfaction of Rule 16(b)(4), a court cannot reach a Rule 15(a)

analysis. Sosa v. Airprint Sys., 133 F.3d 1417, 1419 (11th Cir. 1998) (holding

that because plaintiff’s “motion to amend was filed after the scheduling

order’s deadline, she must first demonstrate good cause under Rule 16(b)

before we will consider whether amendment is proper under Rule 15(a)”).

      Here, the Joint Preliminary Report and Discovery Plan [Doc. 68], part

6, entered and approved according to the Court’s Scheduling Order [Doc. 69],

required amendments to pleadings to be filed no later than February 21,

2021, unless otherwise permitted under the Rules and upon motion.9 Sionic’s

Motion to join Third-Parties and permit Counterclaims and Third-Party

Claims, which arose from significant new evidence only recently learned

through discovery, fully satisfied this requirement. Sionic went to great

lengths to document the results of its discovery efforts for the Court,

including voluminous exhibits to its Motion to show why it was moving to join

Third-Parties and add Third-Party Claims and Counterclaims at this time. It

is for this reason that no one, including Berkeley and Linda Rossetti, argued

that Sionic had failed to satisfy the requirements of Rule 16(b)(4).



9Joint Preliminary Report and Discovery Plan [Doc. 68] at 8 (requiring
amendments to pleadings be submitted no later than 30 days after the Joint
Preliminary Report and Discovery Plain is filed, which was on Jan. 22, 2021).

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      Conversely, Berkeley has not identified one substantive new fact, item

of evidence or allegation that was different from what Berkeley knew and

alleged at the commencement of this action on December 7, 2019. Simply

stated, Berkeley has not demonstrated its right to amend its Complaint and

join a new party defendant outside the deadlines set by the Court and some

19 months after the commencement of this action.

      Presently, from what can be gleaned from Berkeley’s Motion, it appears

that it is asserting four broad bases for joining Gahan as a party defendant

and to amend its Complaint, including: (1) Gahan was the Sionic Board

member who allegedly introduced Berkeley to Sionic;10 (2) Gahan allegedly

encouraged and induced Berkeley to invest in Sionic based on his own prior

due diligence;11 (3) Gahan had allegedly contrived stock donations as a way to




10 Berkeley Brief [Doc. 136-1] at 2 (“Plaintiff was introduced to an investment
opportunity, by SMC”), 5 (“Mr. Gahan, as a member of Sionic board of
directors, attended a meeting with representatives of the Plaintiff for the
initial introduction to Sionic”).
11 Berkeley Brief [Doc. 136-1] at 2 (“Mr. Gahan told Mr. Palazzo about SMC

and how Mr. Gahan had invested in SMC and recommended that Plaintiff do
the same”), 5 (“Mr. Gahan vouched for the investments to be made into
Sionic, by reassuring representatives of the Plaintiff that he had already
done due diligence on the company and that he was not only a director, but
also an investor”).

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artificially inflate Sionic’s stock price;12 and (4) Gahan had allegedly

participated in pressuring tactics in order to help foreclose Berkeley’s due

diligence period and efforts.13

      There is, however, nothing new in any of these purportedly ‘new’

allegations. In its Complaint, Berkeley alleged Gahan was the Sionic Board

member—and in fact the “Key Board Member”—who allegedly introduced

Berkeley to Sionic, with Berkeley’s prior counsel expressly confirming that

fact in an email dated February 21, 2020.14 In the same email, Berkeley’s

prior counsel stated its contention that Gahan not only had solicited

Berkeley, but had previously solicited his own attorney to invest in Sionic; a

fact that would have been known well before the Complaint since the

managing partner of Berkeley’s prior counsel was in fact that attorney.15

Moreover, the October 25, 2017 Introductory Email, attached as Exhibit B to




12 Berkeley Brief [Doc. 136-1] at 7 (“Mr. Gahan was operating a scheme . . . to
transfer Sionic shares in exchange for charitable write-off contribution”);
“Amended Verified Complaint for Damages” [Doc. 136-3] para. 18.
13 “Amended Verified Complaint for Damages” [Doc. 136-3] para. 12.
14 Complaint [Doc. 1] para. 20, 32; Reply Brief in Further Support of Motion

to Disqualify, Aff. Richard J. Baker [Doc. 24-3] para. 3, Ex. A (confirming “the
third party to which Berkeley and Mr. Slipakoff refer is Patrick Gahan”).
15 Reply Brief in Further Support of Motion to Disqualify, Aff. Richard J.

Baker Ex. A [Doc. 24-3].

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Berkeley’s Complaint, is from Gahan.16 There is, therefore, nothing new.

Berkeley knew who introduced it to Sionic and who encouraged it to invest.

      Similarly, Berkeley’s Complaint alleges that Gahan had used his own

prior due diligence to induce Berkeley into funding Sionic, including through

Gahan’s Introductory Email.17 While Berkeley proposes some elaboration on

what it alleges Gahan said regarding the efficacy of his prior due diligence

efforts and what that might have meant for Berkeley at the time, this was

information obviously known to Berkeley, not just when it filed its Complaint

on December 7, 2019, but going back at least to October 25, 2017, when

according to the Complaint, Gahan first began talking with Berkeley.

      Likewise, Berkeley was fully aware of Gahan’s alleged stock donation

and valuation scheme even before it filed its Complaint. The Complaint

expressly referenced and described the alleged scheme almost 19 months

ago.18 These allegations, moreover, were clearly informed by the work that

the managing partner for Berkeley’s prior counsel had performed for

Gahan—which Sionic disclosed to the Court in its February 27, 2020 Motion



16 Complaint, Ex. B [Doc. 1-2].
17 Complaint [Doc. 1] para. 23 (“This is my favorite tech company in our
portfolio...I personally did the initial technology due diligence review 2 years
ago for the Series B round”),
18 Complaint [Doc. 1] para. 17-19, 22.



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to Disqualify, and which was one of the essential factors that caused the

Court to ultimately order Berkeley’s lawyers disqualified in December 2020.19

      Finally, Gahan’s alleged pressuring tactics were fully alleged in the

Complaint, including his involvement in contriving alleged “artificial

deadlines” and “shortened due diligence periods.”20 Once again, the

Complaint identifies Gahan’s Introductory Email as setting the scene for

these so-called pressuring tactics.21 In case there was any doubt, Berkeley’s

Complaint expressly refences the attachments to Gahan’s Introductory

Email, including a Fact Sheet and Overview PowerPoint, as essential

components to the alleged “Restricted Due Diligence Period.”22 Once again,

while Berkeley may now propose certain elaborations on these old

allegations, there is nothing new that was not known to Berkeley since before

its investment in Sionic, and certainly at the time it filed its Complaint.

      Berkeley has not met its burden under Rule 16(b)(4). It was tardy and

dilatory in seeking to amend its Complaint and in adding Gahan. Rather, in


19 Brief to Motion to Disqualify [Doc. 24] at 3; Order (Dec. 20, 2020) [Doc. 69]
at 13 (“Plaintiff alleges that part of Defendants’ scheme to defraud investors
was to have “some investors donate( ) their shares to one or more charities at
inflated share prices to generate charitable tax deductions”).
20 Complaint [Doc. 1] para. 11.
21 Complaint [Doc. 1] para. 23 (“this is probably not going to be enough time

for your normal due diligence”).
22 Complaint [Doc. 1] para. 34-35.



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view of Sionic’s pending Motion to join Linda Rossetti and Berkeley Capital

Partners, LLC, and to permit Third-Party Claims and Counterclaims, it is

evident that Berkeley is engaging in little more than tit-for-tat. But Sionic

and Berkeley’s respective Motions could not stand on more different ground.

Respectfully, the Court should deny Berkeley’s Motion.

   III.   Berkeley has failed to substantively argue or show that
          Gahan’s addition to this case, at this time, is appropriate or
          necessary to its right of recovery.

      For the reasons stated in part I of this Brief, Berkeley’s Motion fails to

present an integrated or properly stated argument in support of either its

joinder of Gahan or to permit the amendment of its Complaint. As further

show in part II, Berkeley has failed to show its entitlement to the liberal

amendment provisions of Rule 15. The serious problems with Berkeley’s

Motion as discussed in parts I and II of this Brief, incorporated by this

reference, continue for Berkeley’s other arguments for joinder and

amendment under Rule 19, 20 “and/or” 21.

      For example, Berkeley cites Rule 19(a) as one basis that might justify

Gahan’s joinder, nakedly contending that without Gahan “complete relief

cannot be afforded to Plaintiff and by failing to join would subject the parties




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to multiple litigation in perhaps multiple courts.”23 Berkeley fails, however,

to cite any facts or to provide any reasoning or analysis in support of this

contention. This failure is fatal to Berkeley’s Motion because joinder under

Rule 19(a)(1) is not appropriate unless the movant articulates the reasons

and bases supporting a grant of such relief. Alfa Life Ins. Corp. v. Advantage

Consulting Group, Inc., 2006 U.S. Dist. LEXIS 33644 at * (M.D.Ala. May 23,

2006) (denying Rule 19(a) motion, in part, because the movant first, “does not

articulate any reason why, in the absence of” the added party defendant,

“complete relief could not be accorded” among the existing partis, and second,

did not show how the movant “might incur inconsistent or multiple

obligations”). Moreover, Berkeley has itself confirmed that Gahan is not a

necessary party for purposes of Rule 19(a). As Berkeley stated: “The instant

matter is a simple one, the Plaintiff made an investment in Sionic, based on

misrepresentations by not only the present Defendants but also Mr.

Gahan.”24 And as Berkeley has further alleged, Gahan was acting as all times

pertinent to this matter as a Sionic Board member.25 Gahan is thus little




23 Berkeley Brief [Doc. 136-1] at 4.
24 Berkeley Brief [Doc. 136-1] at 6.
25 See, e.g., Berkeley Brief [Doc. 136-1] at 2.



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more than a would-be tack-on, with nothing special or separate alleged as to

his conduct that is not equally asserted in species and kind against Sionic.

      Similar problems afflict Berkeley’s attempt at permissive joinder under

Rule 20(a)(2). Once again, Berkeley made no application of the governing law

and language of Rule 20 to its allegations or claims, to show why the Court

should compel Gahan’s permissive joinder. Furthermore, even if it had

attempted to do so, the law would not permit it.

      First, Berkeley’s efforts to join Gahan and amend its Complaint were

and remain dilatory and tardy, which alone is sufficient to deny what it now

requests. Vanover v. NCO Fin. Servs., 857 F.3d 833, 840 (11th Cir. 2017)

(upholding district court’s denial of permissive joinder under Rule 20, in part,

because first, plaintiff had failed to timely amend her complaint, and second,

because contrary to the allegations in plaintiff’s amended complaint, she had

known about the alleged wrongdoing on which joinder was premised since

before she filed suit).

      Second, Berkeley has not alleged any separate duty or obligation owed

to it by Gahan that would render anything he did before the investment

actionable as against him. Williams v. Wilson, No. Williams v. Wilson, 1997

U.S. Dist. LEXIS 17577, 1997 U.S. Dist. LEXIS 17577 at *4 (S.D.Ala. Oct. 30,

1997) (“the plaintiff has failed to allege ‘any right to relief in respect of or

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arising out of the same transaction, occurrence, or series or transactions or

occurrences’”) (quoting Fed. R. Civ. P. 20(a)). Rather, all that Berkeley has

alleged is an arm’s length investment in a company that Gahan serves as a

Board member. There is no allegation of special knowledge or trust, or of

fiduciary duty or contractual obligation owed by Gahan to Berkeley that

could justify his personal liability as to Berkeley. Clearly Berkeley had

previously reached this conclusion since it did not make Gahan a defendant

in December 2019, on virtually the same allegations that it makes now.

Respectfully, the Court should deny Berkeley’s Motion.

   IV.   Berkeley’s purported “Amended Verified Complaint for
         Damages” fails to adequately plead fraud and is at odds with
         Berkeley’s latest, purported truncated due diligence timeline
         and new version of events.

      Berkeley’s purported “Amended Verified Complaint for Damages” [Doc.

136-3] (the “purported pleading”)—which presumably Berkeley would like

admitted—is highly problematic on its own merits. There are two specific

reasons thus supporting its denial by the Court.

      First, Berkeley’s Motion largely repeats an entirely new, truncated due

diligence timeline and version of events, largely taken from its Brief in

Opposition to Sionic’s Motion to join Third-Parties and permit Counterclaims

and Third-Party Claims. As Sionic explained in its associated Reply Brief,



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Berkeley truncated due diligence timeline and new version of events

contradicted the sworn allegations of Berkeley’s Complaint, not to mention

multiple evidence and Berkeley’s own admissions in discovery. Likewise, they

also contradict Berkeley’s purported pleading, which largely follows and

repeats Berkeley’s Complaint. Due to the similarity in the analysis and

issues, Sionic incorporates the relevant parts of its Reply Brief into this part

III by this reference.26 For the same reasons, Sionic repeats its concerns

about Berkeley’s continuing Rule 11 violations.

        Second, the purported pleading demonstrates serious deficiencies on its

own merits. For example, the purported pleading preserves the original

internal paragraph citations that Berkeley used for its fraud Counts in its

Complaint. Because Berkeley added paragraphs to its purported pleading,

these citations no longer make any sense. This failure is important, because in

pleading the elements of fraud, a plaintiff must satisfy the stringent

requirements of Rule 9(b), as modified by the PSLRA, meaning that the

plaintiff must plead the complaint with particularity sufficient to alert the

defendant regarding the precise wrongful misconduct alleged. 15 U.S.C. §

78u-4(b); Ziemba v. Cascade Int’l Inc., 256 F.3d 1194, 1202 (11th Cir. 2001).



26   Sionic’s Reply Brief in Support of Joinder et al [Doc. 131] at 5-10.

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Berkeley’s purported pleading does not satisfy this requirement, with bits of

various allegations falling out of the core claims for fraud, while others

nonsensically are now in. Moreover, because Berkeley’s Counts in the

purported pleading are inherently confusing, they also violate Rule 8, not

least as the allegations against each purported defendant is now unclear,

with some allegations in and other out. Petrovic v. Princess Cruise Lines,

Ltd., No. 12-21588-CIV-ALTONAGA/Simonton, 2012 U.S. Dist. LEXIS

100919 at *10 (S.D.Fla. Jul. 20, 2012) (dismissing complaint that created

confusion as to which allegations applied to which defendant per claim).

Respectfully, the grant of Berkeley’s Motion will do this case no good

administratively or otherwise and should be denied.

                                CONCLUSION

      Berkeley’s Motion fails the most elementary requirements for moving a

court to grant relief—and especially the species of serious relief that it has

now demanded in seeking Gahan’s joinder and the amendment of its

Complaint at this late date. Berkeley has not satisfied, and more worryingly,

does not seem to have tried to have satisfied its obligations as movant.

Whether presented under Rule 15, 19, 20 “and/or” 21, the Court should deny

Berkeley’s Motion.




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Respectfully submitted this July 2, 2021.

                              /s/ Simon Jenner
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            CERTIFICATE OF COMPLIANCE AND SERVICE

      I certify that the foregoing has been prepared in accordance with Local

Rule 5.1(C), using Century Schoolbook, 13-point font. I further certify I have

electronically filed on the date stated below, the foregoing DEFENDANT

SIONIC MOBILE CORPORATION’S BRIEF IN OPPOSITION TO

PLAINTIFF BERKELEY VENTURES II, LLC’S MOTION TO ADD MR.

PATRICK GAHAN AS A PARTY DEFENDANT with the Clerk of Court

using the CM/ECF system which will automatically send email notification of

such filing to attorneys of record, as follows:

                             Jason Brian Godwin
                             Godwin Law Group
                        3985 Steve Reynolds Boulevard
                                 Building D
                           Norcross, Georgia 30093

      Further served, although not attorneys of record:

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This July 2, 2021.

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